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                                   UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO
  ----------------------------------------------------------x
  In re:                                                                       PROMESA
                                                                               Title III
  THE FINANCIAL OVERSIGHT AND
  MANAGEMENT BOARD FOR PUERTO RICO,

          as representative of                                                 No. 17 BK 3283-LTS

  THE COMMONWEALTH OF PUERTO RICO,                                             (Jointly Administered)
  et al.,

                             Debtors. 1
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           ORDER DENYING AMBAC ASSURANCE CORPORATION’S URGENT MOTION FOR AN
      ALTERNATIVE BRIEFING SCHEDULE WITH RESPECT TO THE OBJECTION OF AMBAC ASSURANCE
        CORPORATION, PURSUANT TO BANKRUPTCY CODE SECTION 502 AND BANKRUPTCY RULE
        3007, TO CLAIM ASSERTED BY THE OFFICIAL COMMITTEE OF RETIRED EMPLOYEES OF THE
       COMMONWEALTH OF PUERTO RICO APPOINTED IN THE COMMONWEALTH’S TITLE III CASE.

                 The Court has received and reviewed Ambac Assurance Corporation’s Urgent
  Motion for an Alternative Briefing Schedule With Respect to the Objection of Ambac Assurance
  Corporation, Pursuant to Bankruptcy Code Section 502 and Bankruptcy Rule 3007, to Claim
  Asserted by the Official Committee of Retired Employees of the Commonwealth of Puerto Rico
  Appointed in the Commonwealth’s Title III Case (Docket Entry No. 16963, the “Scheduling
  Motion”), filed by Ambac Assurance Corporation (“Ambac”), the Objection of Ambac
  Assurance Corporation, Pursuant to Bankruptcy Code Section 502 and Bankruptcy Rule 3007, to
  Claim Asserted by the Official Committee of Retired Employees of the Commonwealth of Puerto

  1       The Debtors in these Title III cases, along with each Debtor’s respective Title III case
          number listed as a bankruptcy case number due to software limitations and the last four
          (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i)
          Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17-BK-
          3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
          Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last
          Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation
          Authority (“HTA”) (Bankruptcy Case No. 17-BK-3567 (LTS)) (Last Four Digits of
          Federal Tax ID: 3808); and (iv) Employees Retirement System of the Government of the
          Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last
          Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority
          (“PREPA”) (Bankruptcy Case No. 17-4780 (LTS)) (Last Four Digits of Federal Tax ID:
          3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No.
          19-BK-5233-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are
          listed as Bankruptcy Case numbers due to software limitations).


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  Rico Appointed in the Commonwealth’s Title III Case (Docket Entry No. 16884, the “Claim
  Objection”), and the pleadings filed in connection with the Scheduling Motion.

                  The Court has considered the parties’ arguments concerning the substantive,
  procedural, and timing considerations raised by the Scheduling Motion and Claim Objection, and
  the procedural alternatives proposed by Ambac and the other parties in their respective papers.
  Ultimately, the issues into which Ambac seeks to delve through the Claim Objection (namely,
  the methodology and result of the quantification of claims arising from pension obligations) may
  be relevant to confirmation determinations. (See Reply in Support of Ambac Assurance
  Corporation’s Urgent Motion ¶ 2, Docket Entry No. 17121 (arguing that “the Court cannot
  discharge its obligation to determine whether the POA satisfies PROMESA’s confirmation
  requirements, including (without limitation) the feasibility and best interest of creditors tests,
  without undertaking this judicial inquiry”).

                  A litigated resolution of the Claim Objection would not necessarily directly
  address the issues that are of interest to Ambac, and the parties have raised practical and
  procedural issues whose resolution would unnecessarily increase the transaction costs of
  resolving the Claim Objection (if not merit dismissal of the Claim Objection entirely).
  Accordingly, the Scheduling Motion and the Claim Objection are denied without prejudice. The
  parties are directed to meet and confer to develop an appropriate schedule for litigation of the
  underlying issues concerning the quantification of pension-related claims in connection with the
  Court’s adjudication of the Financial Oversight and Management Board for Puerto Rico’s
  anticipated request to confirm the Third Amended Title III Joint Plan of Adjustment of the
  Commonwealth of Puerto Rico, et al., including what, if any, further discovery is appropriate.
  The parties must file a joint proposal or, to the extent necessary, set forth their areas of
  disagreement in a status report by July 6, 2021 at 5:00 p.m. (Atlantic Standard Time).

                 This Order resolves Docket Entry Nos. 16884 and 16963.


         SO ORDERED.

  Dated: June 22, 2021
                                                               /s/ Laura Taylor Swain
                                                              LAURA TAYLOR SWAIN
                                                              United States District Judge




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